                      UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Civil Action No. 1:23-cv-00861-TDS-JEP

VOTO LATINO, et al,                        )
                                           )
              Plaintiffs,                  )           SUPPLEMENT TO
                                           )
       v.                                  )           UNOPPOSED
                                           )        MOTION FOR STATUS
ALAN HIRSCH, et al.,                       )        CONFERENCE [D.E. 41]
                                           )
              Defendants.                  )

       NOW COME Defendants Alan Hirsch, Jeff Carmon, Stacy Eggers, IV, Kevin N.

Lewis, Siobhan O’Duffy Millen, and Karen Brinson Bell (collectively, the “State Board

Defendants”), to provide this supplement to State Board Defendants’ Unopposed Motion

for a Status Conference. [D.E. 41].

      1.     Prior to filing the Unopposed Motion for a Status Conference, undersigned

counsel inadvertently neglected to consult with Mr. Bradley O. Wood, counsel for

Defendants, Members of the Watauga County Board of Elections (“Watauga CBE

Defendants”). [D.E. 39, 41]. This morning, undersigned counsel consulted with Mr.

Wood. Watauga CBE Defendants do not oppose the requested relief.

      Respectfully submitted this the 13th day of November, 2023.

                                               NORTH CAROLINA
                                               DEPARTMENT OF JUSTICE

                                               /s/ Terence Steed
                                               Terence Steed
                                               Special Deputy Attorney General
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